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                       Exhibit B
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  Tammy R. White

  Little Rock, AR 72223


  September 21st, 2022



 To the Honorable Judge Patti Saris
 United States District court
 Boston, MA



 Dear Judge Saris,

 My name is Tammy White and I am writing this heartfelt letter requesting leniency in your sentencing of
 my brother, Jim Baugh. I am the eldest of four children. Jim is the third born child and my parent's only
 son. We grew up in a small farming community in southern Arkansas where our father raised cattle,
 corn, cotton, rice, soybeans, watermelons, and wheat. We were raised in a strict household. Work ethic
 was instilled in all of us during our preteen years. We all attended college and graduated with advanced
 degrees. I am an oncology specialty pharmacist at the University of Arkansas for Medical Sciences. My
 sisters earned degrees in psychology and speech pathology. Jim studied criminal justice and later
 worked in private security as well as the government for many years. After college, Jim left home to
 work in Los Angeles. His job entailed protecting prominent people and their family members. He was
 hired by Microsoft and was later employed directly by Bill Gates and supported the global efforts of the
 Bill and Melinda Gates Foundation. Jim has always been a hardworking and valued employee wherever
 he's been. Jim has worked diligently to provide for his family and goes above and beyond for his
 employers to meet his job responsibilities and expectations.

Jim has always volunteered his time and contributed to community service. While in graduate school, he
volunteered at Big Brothers Big Sisters of America for several years. As a big brother, he sponsored an
underprivileged child who had been abused and had no father figure. There's no doubt his efforts had a
profound impact on this child's life. Additionally, he and his wife volunteered at the Seattle Milk Fund in
for many years. During Christmas, they would adopt one or two low-income families each year. These
families would provide their Christmas wish list to Jim and his wife, and they would provide presents for
them instead of spending money on each other. Jim also donated meals to homeless shelters here in
Little Rock during Christmas time. Jim has always been a very kind, loving and patient person.

He has two beautiful daughters, E (10) and S              (7), who are his world. They rely on Jim for
financial, emotional, and physical support. They think he hung the moon. I feel that an extended
sentence would be extremely detrimental to E and S                as they are very young and need their
father during this very fragile time in their lives. Jim also assists our 74-year-old father with the
management of the family farm. Due to his age and declining health, Jim's support will continue to be
required.


My brother accepts full responsibility for the charges that have been brought against him. I respectfully
ask that you please consider that he is a non-violent, first-time offender. For the two years he has been
living with me, he has continued to better himself, both mentally and physically. When he initially came
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to live with me after facin& these charses tn 2020, our famUy was completety dft'a.stated. 'The cha,.es
against htm were i ~ b l e l'O us and weire contrary to ewrythq we'Ye ewr blown •bout Jim. We
later learned how toxic the wort environment was at elay. Alcohof was • daity and habitual aspect of
work life within the eBay community. 1fffl atcohot abuse was • major contributinl fadOf In tNs caA. I
noticed when he arrived at my home afte.r his arrest that he wndt himself 1nymore. He was    ctnn-.,.
nightly and was extremely depressed. Jim dedded on his own to Md hetp b he 11tciitd use and
successfully compl~ an intensive Pf'OIT8m In Atlanta., Georp. Ewn after his treatment was
completed, he voluntarily submitted to breathafvzer tests (sober Int) three time a day for over a yur
to hold himself accountable. He has ~n sober for over 2 years now and~ are so pn>ud of him.

I know my brother will be able to conb'ibute to society in a positive way ;f gMn the opportunity. He has
shown a persistent and tenacious attitude in overcoming this period of hrs life and correcting the
mistakes he made.

Thank you so much for your consideration of my request for lenience in hrs case.



Sincerely,
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  ~                1,r~
Tammy White
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From:                              Joyce Haley <    @hotmail.com>
Sent:                              Sunday, September 18, 2022 10:20 PM




Joyce Haley

Oklahoma City, Oklahoma 73127

September 18, 2022

Judge Patti Saris
United States District Court
Boston, MA

Dear Judge Saris,

I am writing in regard to Jim Baugh’s case. I have known Jim for approximately 15 years, and met him while he was
friends with my daughter. Eventually I became his mother-in-law and have enjoyed that role immensely.

I am a retired registered nurse. Shortly after retiring, I developed back problems and have had four back surgeries. Jim
was there for all of the surgeries and stayed in the hospital with me for all of them when other family members could
not be there. He has always been so helpful such as paying for car repairs for me and buying electronics for me.

I enjoy my church attendance and consider myself a believer but not a “pushy religious “ person. Jim and I have talked
about spiritual things a lot.

Jim has a Master’s degree from the University o f Oklahoma and was contacted after graduation by Microsoft in Seatle to
work in Security for that company. Later he became a trusted bodyguard for Bill Gates. Jim is very intelligent, very
organized, and a natural leader. He is quiet but very interesting when he can be prompted to talk about his travels
around the world. Our whole family has enjoyed and respected Jim. He is a very giving person and has been active in
donating to battered women’s shelters and other charities. He is a generous person who sees a need and tries to meet
it.

Jim and I seem to have a special connection. We both grew up in small farming communities with people with good
values and hard work. It is difficult to understand this situation in which he has found himself. I attribute it to the
increase in drinking in his workplace. Apparently there is a history of alcohol misuse in his heredity, too. Sometimes
alcohol can cloud good sense. When I first knew Jim, there was little alcohol use but it increased in time. Recently he has
told me he has not had a drink in two years and has started going to church. I believe he will stay on this new path.

I certainly want to support Jim as he continues his spiritual journey. I want to keep in touch with him by mail and send
him encouraging material if that is possible. I will continue to pray for him everyday as I do now. Jim is a friend as well as
a son-in-law. May the Lord do what is best in this situation.

Sincerely,
Joyce Haley



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